                               Case 3:18-cv-06830-RS Document 131-26 Filed 04/28/21 Page 1 of 2




From                                                          Brown         Vallie   ECN
Sent                                                          Friday July       7     2017 438     PM
To                                                            Torres Joaquin               ECN
Subject                                                       FW         Detailed    blueprints for     FHC




FYI




From Henderson                  Paul       DAT
Sent Friday             July   07     2017 423         PM
To eabates ashs com
Cc Cohen Amy                ECN amy bcohen                                                Brown   Vallie      ECN   vallie brown

Subject           FW    Detailed       blueprints for          FHC


Dr Bates           I   wanted     to follow       up with you about                  the   information        regarding blueprints for the Yoshi's building see

information             below         In   the   meantime            I
                                                                         appreciate        your reaching       out to the Memphis team and per your request                   I   am
including         the    contact      information for the Planted Concepts                         team
Keiji      Varela      510     566-9002

And
James Victor            845     645-1095



I   will   also   pass your information                 along to them as well Please                    let   me know   if   there   is   more information   that   I
                                                                                                                                                                        can   help

you with as you consider your options and opportunities with the project                                                Paul


Paul       Henderson

Public       Safety

Mayor's Office

City       Hall   Rm     200

San Francisco             CA 94102

paul hendersonC sfgov org




From Brown               Vallie     ECN
Sent Friday             July   07     2017 233         PM
To Henderson               Paul     DAT
Cc Keene Joshua                 ADM          Ooshua keene
Subject           FW    Detailed       blueprints for          FHC



Paul Josh from Real Estate                       has   full   size       drawing     if   Dr Bates team needs more

They can contact               Josh    directly to        make an appt


Vallie




From Keene               Joshua       ADM
Sent Friday             July   07     2017 11 36         AM
To Brown Vallie ECN vallie brown
Subject Re Detailed blueprints for FHC




                                                                                                    1




                                                                                                                                                   CCSF-SHIFERAW-015594
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Vallie



I'm not exactly sure what             we have        but    we do    have some detailed          full   size   drawings       we   got from   OCII Do you
want     to   have whomever's         interested      reach     out and    come by my         office    to review      this   week


Thanks


Josh Keene

Project       Manager

City and County          of San Francisco

Real     Estate Division

415-554-9859

joshua keene sfgov org


From Brown          Vallie

Sent Thursday         July   6   2017 10 19 3 2      AM
To   ene        Joshua   AE
Subject Detailed        blueprints for      FHC


H    Josh


Does P eal Estate have detailed        structui-al   blue   ptints for   FfV   One   of the panelist    are asking   for   them because they are looling   at


modrf ing      the restaurant    area of   FHC

Thanks
Vallie



Sent   from   my Whone




                                                                                                                                   CCSF-SHIFERAW-015595
